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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


 RAJPATH USA LLC, et al.                      HON. CLAIRE C. CECCHI

              Plaintiff,                      Civil Action No. 2:21-cv-04800-CCC-
                                              ESK
       v.
                                              ORDER
 U.S. CITIZENSHIP AND
 IMMIGRATION SERVICES, et al.

              Defendants.

      This matter having been brought before the Court upon Defendants’ letter

request, dated April 18, 2021, requesting an extension of time to file an opposition

to Plaintiffs’ motion for a preliminary injunction (ECF No. 3), and with their no

opposition and for good cause shown;

      IT IS on this WK day of $SULO 2021,

      ORDERED that Defendants’ time to file an opposition to Plaintiffs’ motion for

preliminary injunction is extended from April 19, 2021 to April 23, 2021.


                                                         ___________________________
                                                         CLAIRE C. CECCHI
                                                         United States District Judge
